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                   Exhibit 12
                                   Case 3:16-cr-00411-VC Document 116-12 Filed 09/19/17 Page 2 of 2REVISIONS
                                                                                                   REV          ECO                         DESCRIPTION                  DATE           APVD
                                                                                                    1                                    ENIGEERING RELEASE            4/12/2012         JDF




                                                                                                        64.12
                                                                                                        2.524
                          58.50
                           2.303




                                                                                                                                                   M34 X 0.5 6g                    44.70
                                                                                                                                                                                    1.760
                                                            56                                                                                                           0
                                                            2.205                                                                                                  34.90-0.02
                                                                                                                                                                           .000
                                                                                                                                                                    1.374+.001
                                                                                                                                                                         -




                                                                                                                                                        1.60
                                                                                                                                                        .063
                                                                                                                                                                             FPA
                                                                                                                                                           1
                                                                                                                                                         .039 GERMANIUM WINDOW
                                                                                                                                                        6.64±1.10
                                                                                                                                                        .261±.043
                                                                                                          +0.13
                                                                                                         5 0
                                                                                                                                                     6.11
                                                                                                            .005
                   41605-001                                                                          .197+.000                                      .241
                                                                                                          -
 FOCAL LENGTH        50mm                               PROJECTION: THIRD ANGLE
                                                                                             UNLESS OTHERWISE SPECIFIED:
FOV (Horizontal)      12.5°             6.2°                                                  DIMENSIONS ARE IN INCHES
                                                                                               METRIC EQUIVALENTS IN
     Format        640 X 512         320 X 240                                                     BRACKETS [mm]

                                                                                            ANG.             X.XXX   X.XXXX
    Pixel size       17µm              17µm             PROPRIETARY AND CONFIDENTIAL
                                                                                                    X.XX
                                                                                                                                          55 BLACK BROOK ROAD, KEENE, NH 03431 U.S.A.
                                                                                                                     +0.0005
                                                                                             1/2    0.010    0.005
   Wavelength       8-14µm                                   THIS DOCUMENT CONTAINS
                                                                                                                     -0.0000   TITLE:

        F#             1.2
                                                         INFORMATION WHICH IS PROPIETARY
                                                           AND IS THE PROPERTY OF JANOS
                                                                                            DRAWN          D.A.M      12                       50mm Objective
                                                         TECHNOLOGY INC. AND MAY NOT BE     CHECKED
                                                                                                                               SIZE     DWG. NO.                                         REV
     Weight          229gr                              USED, REPRODUCED, OR DISCLOSED IN

                                                                                                                                                                                         1
                                                                                            ENG APPR.
    Athermal           YES
                                                        ANY MANNER WITHOUT THE EXPRESSED
                                                            WRITTEN PERMISSION OF JANOS
                                                                  TECHNOLOGY INC.
                                                                                            MFG APPR.                           B               41605-ICD
Interface Camera    Custom                                                                  Q.A.                                 SCALE: 1:1         CAGE: 66810            SHEET 1 OF 1
